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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION

                    Case No. 9:18–CV–81147–BLOOM–REINHART

  UNITED STATES OF AMERICA,         )
                                    )
       Plaintiff,                   )
                                    )
       v.                           )
                                    )
  ISAC SCHWARZBAUM,                 )
                                    )
       Defendant.                   )
                                    )


    DEFENDANT ISAC SCHWARZBAUM’S MOTION FOR SUMMARY JUDGMENT




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          Defendant Isac Schwarzbaum (Isac) pursuant to Rule 56 of the Federal Rules of Civil
  Procedure, moves for summary judgment in his favor.
                                   PRELIMINARY STATEMENT
          During the years at issue, 2006-2009, Isac maintained bank accounts in Switzerland that
  should have been disclosed on an FBAR. Isac got bad advice his from U.S. Certified Public
  Accountants (CPAs), whom he had no reason to doubt and whose advice he was not required to
  challenge.
          The facts of this case can be distinguished from all other FBAR cases adjudicated: unlike
  all other cases (i) Isac attempted to satisfy his obligations by filing FBARs; (ii) Isac was not
  moving money abroad from the U.S. to conceal U.S. income; (iii) Isac maintained Swiss bank
  accounts because they were funded with monies already in Switzerland and gifted by his Swiss-
  based father, and because of his deep connections to Switzerland.
          Based on undisputed facts, it is clear that Isac did not willfully violate his FBAR filing
  requirements. Furthermore, based on undisputed facts, the Internal Revenue Service’s (IRS) FBAR
  determination should be set aside because it is arbitrary and capricious, violates the Eighth
  Amendment, and was assessed after the expiration of the limitations period.
                                            BACKGROUND
  I.      Factual Background
          A.      The Early Life of Isac Schwarzbaum
          Isac was born in Germany to parents who had resettled from Poland. (SOF ¶ 1.) Although
  very successful financially later in life, Isac’s father’s early life was difficult as he was uneducated,
  poor and narrowly escaped death in a Nazi concentration camp. (SOF ¶ 2.) His parents gained
  German citizenship after his father was unable to return to Poland, and in the 1980s moved to
  Switzerland where they lived until their deaths. (SOF ¶ 3.) At no time did his parents have any
  U.S. legal status, i.e., were never citizens or residents. (SOF ¶ 4.)
          Like his parents, Isac was not well-educated. He received a high school diploma in
  Germany in the 1970s, but was unable to attend university because he performed poorly in high
  school. (SOF ¶ 5.) While in the German education system, Isac never studied U.S. law, tax law, or
  accounting and received only basic education in the English language. (SOF ¶ 6.)




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         B.      The Adult Years of Isac Schwarzbaum
         Isac has never been successful in business, having started, but failed at several businesses,
  including a fitness center in Spain, a real estate business in Costa Rica, and as a realtor in Florida.
  (SOF ¶ 7.) Isac’s occupation as “investor” or “businessman” as listed on his tax returns are
  placeholders used by his CPAs. (SOF ¶ 8.) Blessed as a single father of two young children born
  through surrogacy, Isac has always supported himself and his children with his inheritance. (SOF
  ¶ 9.) While protective of that inheritance for the sake of his children, Isac has been a generous
  supporter of charities over the years and since 2007 has maintained a U.S. trust with bequeaths to
  several charities. (SOF ¶ 10.)
                 1.      Isac’s connection with the U.S.
         Although retaining German citizenship since birth, Isac became a U.S. citizen in 2000.
  (SOF ¶ 11.) Isac spent most of his time outside the U.S., splitting his time for the years at issue
  among the U.S., Costa Rica, and Switzerland. Based on Isac’s recollection, he was present in the
  U.S. approximately: 2006 – 62 days; 2007 – 30 days; 2008 – 122 days; 2009 – 182 days. (SOF ¶
  12.) The remainder of these years was split between Costa Rica (his primary residence) and
  Switzerland (where his family maintained a room solely for Isac). (SOF ¶ 12.) Isac moved to
  Switzerland full-time in 2010, with intentions to remain, but returned to the U.S. in 2016, where
  he lives modestly with his children in Jupiter, Florida. (SOF ¶ 13.)
         While Isac’s English has improved through his time spent in the U.S., English is Isac’s
  fourth or fifth language and he still struggles with English reading comprehension (which was to
  blame when Isac sat for, but failed, the Florida real estate license exam twice). (SOF ¶¶ 6,14.)
                 2.      Advice Isac received from his Swiss father
         As Isac’s father’s health declined in Switzerland, he began gifting Isac significant sums of
  money and directly assigning bank accounts over to Isac. (SOF ¶ 15.) His father’s instructions
  were clear: the gifted funds should be held conservatively, as a legacy for future generations and
  as a way to help others. (SOF ¶ 16.) Given his traumatic life experiences, Isac’s father was also
  insistent that Isac follow his practice to diversify the funds over many Swiss banks. (SOF ¶ 17.)
  Isac’s father passed away in July 2009. (SOF ¶ 18.)
                 3.      Preparation of tax returns and FBARs
         Isac relied on licensed accountants in all three countries in which he spent time. (SOF ¶
  19.) As the IRS agent assigned to Isac’s examination, IRS Revenue Agent James Bjork agreed in


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  his deposition testimony, “in all three countries where he paid taxes, Costa Rica, Switzerland, and
  the U.S., Isac Schwarzbaum paid a high-level, experienced tax preparer [sic] to make sure he was
  tax compliant.” (SOF ¶ 19.)
         It was only later in time that Isac learned that he got bad advice from his U.S. CPAs.
  Specifically, Isac received advice that there was no U.S. income tax due on the foreign gifts he
  received, and only foreign accounts with a connection to the U.S. needed to be accounted for with
  the IRS and reported on FBARs. (SOF ¶ 20.) This advice, now known to be incorrect, has forever
  changed the course of Isac’s life and that of his children.
         Prior to the years at issue, Isac relied on CPA Brian Gordon. (SOF ¶ 21.) Isac told Gordon
  – and all three of his CPAs – that he had received monetary gifts and supported himself by such
  gifts from his foreign-based father. (SOF ¶ 22.) Isac also told Gordon about the existence of the
  accounts he maintained in Switzerland. (SOF ¶ 23.) While Gordon prepared Isac’s income tax
  returns for several years up to 2005, Gordon never included the interest earned from foreign
  accounts and never prepared FBARs. (SOF ¶ 24.) Gordon advised Isac that he did not need to
  report his foreign accounts because such accounts were located outside the United Sates. (SOF ¶
  25.)
         For tax year 2006, Isac hired CPA Doris Shaw. (SOF ¶ 26.) Like Gordon, Isac told Shaw
  about the gifts from his foreign-based father. (SOF ¶ 27.) Shaw advised Isac to report accounts
  with which there was a U.S. connection. (SOF ¶ 28.) Shaw prepared Isac’s 2006 income tax return
  and she prepared an FBAR consistent with that advice, reporting a foreign account in Costa Rica
  because it was funded with monies that came from the U.S. (SOF ¶ 29.)1 Because Isac’s Swiss
  accounts had no connection to the U.S. – i.e., money was not transferred to or from the U.S. to
  those accounts – they were not accounted for in either 2006 the income tax return or the FBAR.
         When Isac moved to a different area in Florida, he hired CPA Steven Weitz. (SOF ¶ 32.)
  Again, like the CPAs before him, Isac told Weitz he had received monetary gifts and supported
  himself by such gifts from his foreign-based father. (SOF ¶ 33.) For the years 2007-2009, Weitz




  1
   The 2006 Schedule B reflects “Scotiabank” and reports interest income of $8,499. (SOF ¶ 30.)
  At the time, Isac had an interest in two separate bank accounts in Scotiabank Costa Rica. (SOF ¶
  31.) Presumably, based on the FBAR Shaw prepared, she only reported the account with a U.S.
  connection.

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  participated in the preparation of Isac’s income tax returns.2 (SOF ¶ 34.) Notwithstanding the
  inclusion of interest earned from foreign accounts in 2008 and 2009, Schedule B of the income tax
  returns for all years shows that box 7a — asking whether a taxpayer has foreign account — was
  marked “no.” (SOF ¶¶ 36, 37.) Weitz testified that this was because computer software used at the
  time defaulted to “no” and did not prompt tax preparers to ask clients whether they had foreign
  accounts. (SOF ¶ 38.)
           Because Weitz told Isac he was not familiar with the FBAR reporting requirement, Isac
  replicated the 2006 FBAR prepared by Shaw and filed it for 2007 and 20093 again reporting only
  foreign accounts that had a U.S. connection. (SOF ¶ 40.) In a good faith effort to comply with his
  reporting requirements, for the 2007 FBAR, Isac went beyond what was required and attached an
  online statement from his U.S. Citibank account that reflected a $5 million deposit that Isac
  received from his father, because it had a U.S. connection. (SOF ¶ 43.) For his 2009 FBAR, Isac
  reported a Swiss account with the balance of approximately $4.4 million, and going beyond what
  was required, noted “(transfer from Bank of America new account since 2009).” (SOF ¶ 44.)
           In summary, with respect to all years at issue, Isac hired qualified CPAs, provided the
  information they requested, told them about the gifts from his foreign-based father, and believed
  he was getting sound advice. Their advice never struck Isac as incorrect as Isac had no familiarity
  or training in U.S. tax matters. Isac believed he was fully compliant with all applicable tax and
  reporting laws. Reporting foreign accounts with a U.S. connection, as advised by CPA Shaw, made
  sense to Isac based on the fact that unlike the U.S., Switzerland, Costa Rica, and other countries
  are source-based taxation systems, i.e., taxes are due only on money earned in that country. (SOF
  ¶ 45.)




  2
    The 2007 1040 tax return itself, and other documents recently obtained, indicate that another
  individual with Weitz’s firm prepared the 2007 return. Isac has no specific recollection of this
  individual. (SOF ¶ 35.)
  3
    Isac did not file than original 2008 FBAR. Near the filing date, he had a heart attack which left
  him incapacitated and while he was recuperating, his father passed away. (SOF ¶ 41.) Bjork agreed
  that the lack of filing of the 2008 was “reasonable … because of his medical situation.” (SOF ¶
  42.)

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           C.     IRS Matters
                  1.      IRS OVDI and Income Tax
           In October 2009, Isac received a lengthy and technical letter from one of his banks in
  Switzerland – UBS. (SOF ¶ 46.) The letter indicated, among other things that the IRS had
  submitted a request under treaty to the Swiss government to obtain information on accounts from
  UBS. (Id.) Isac was confused by and did not understand the letter, so he sought the advice of a
  Swiss attorney, who advised Isac that under Swiss law the letter did not apply to him. (SOF ¶ 47.)
  Isac relied on this legal advice and agreed with his Swiss lawyer’s recommendation to seek relief.
  (SOF ¶ 47.)
           It was not until February 2011 that Isac for the first time understood that he got bad advice
  from his U.S. CPAs. (SOF ¶ 48.) Shortly thereafter, Isac entered into the IRS’s voluntary
  disclosure program known as Offshore Voluntary Disclosure Initiative (OVDI). (SOF ¶ 49.) Isac
  and the IRS agreed to the additional income tax, interest, and accuracy-related penalties due as a
  result of the failure to report interest earned from the foreign accounts. (SOF ¶ 50.) Isac promptly
  paid such amounts. (SOF ¶ 51.)
           As was commonplace for taxpayers who were noncompliant due to non-willful conduct,
  Isac then opted out of OVDI and underwent full examinations under Title 26 (the Internal Revenue
  Code of 1986, as amended) and Title 31 (FBAR).4 (SOF ¶¶ 52,53.)
                  2.      IRS Examinations
           IRS Revenue Agent Bjork was assigned to Isac’s case one day before his one and only
  interview with Isac, which lasted between 1 and 1.5 hours. (SOF ¶ 54.) Bjork testified that Isac
  was “very cooperative” and truthful throughout the examinations, but Bjork knew very few details
  about Isac’s case prior to the interview, due to his lack of the usual amount of preparation. (SOF
  ¶ 55.)
           Near the conclusion of the FBAR examination, Bjork determined that the IRS should assert
  a non-willful FBAR penalty of $221,394; his supervisor, IRS Supervisory Agent Erik Anderson
  agreed. (SOF ¶ 56.) That finding was communicated to Isac through his counsel. (SOF ¶ 57.)
  However, Clinton West, an IRS Offshore Technical Adviser who had no actual involvement in the


  4
   The Streamlined Filing Compliance Procedures, the IRS program by which non-willful taxpayers
  remediate their tax noncompliance, was not implemented until 2012, and in its current iteration,
  2014.

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  examination, never spoke to Isac or his representatives, and never developed any new facts,
  overruled the non-willful recommendation. (SOF ¶¶ 58, 59.)
            By contrast, the Title 26 examination was concluded with only the assessment of accuracy-
  related penalties (i.e., no willful civil fraud or related penalties) for the underpayment of income
  tax and no penalties for failure to file information returns (e.g., Forms 3520 and 5471) that typically
  are avoidable only after a showing of reasonable cause. (SOF ¶ 60.)
            The willful FBAR penalties were ultimately assessed on September 6, 2016. (SOF ¶ 61.)
      Pursuant to the complaint, the aggregate amount of the penalties, plus late payment penalties and
      interest, is $15,599,072. (SOF ¶ 62.) Thus, one person, who never spoke with Isac or any of his
      representatives, and had no involvement in the examinations, changed the FBAR penalty from
      $221,394 to over $15 million.
  II.       Legal Background
            A.      The Bank Secrecy Act

            The FBAR dates back to Congress’s 1970 enactment of the Currency and Foreign
  Transactions Reporting Act (commonly known as the Bank Secrecy Act, or BSA), See Currency
  and Foreign Transactions Reporting Act, Pub. L. 91-508, 84 Stat. 1118 (1970).5 The BSA and its
  implementing regulations require U.S. persons having a financial interest in foreign accounts
  exceeding $10,000 to file a Form TD-F 90.22-1, Report of Foreign Bank and Financial Accounts,
  simply referred to as FBAR. See 31 C.F.R. §§ 1010.350; 1010.306(c).6
            Failure to file the required FBAR results in the possible imposition of penalties. Congress
  gave discretionary authority, providing penalties “may” be imposed and providing for willful and
  non-willful penalties. 31 U.S.C. § 5321(a)(5)(A). Congress also stated that no penalty should be
  imposed if any violation was due to reasonable cause. Id. at 5321(a)(5)(B)(ii). For willful
  violations, the maximum statutorily authorized penalty is the greater of $100,000 or 50 percent of
  the relevant account balance (id. at § 5321(a)(5)(C)) which the applicable regulations cap at
  $100,000 (31 CFR. § 1010.820(g)).




  5
   Currently codified at 31 U.S.C. § 5311 et seq.
  6
   The FBAR regulations were renumbered effective 2011 (e.g., 31 C.F.R. § 1010.350 was formerly
  31 C.F.R. § 103.24). See 75 Fed. Reg. 65806 (Oct. 26, 2010).

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         B.      Lack of Awareness of FBAR

         The Financial Crimes Enforcement Network (FinCEN) was delegated authority over BSA.
  See Treasury Order 180-01, 67 Fed. Reg. 64697 (Sept. 26, 2002). FinCEN subsequently
  redelegated portions of its enforcement authority to the IRS. See Memorandum of Agreement and
  Delegation of Authority for Enforcement of FBAR Requirements (Apr. 2, 2003). FinCEN and the
  IRS did a poor job educating the public and tax professionals in the FBAR filing obligation. For
  example, in its 2009 Annual Report to Congress, the National Taxpayer Advocate (conveying
  comments from the New York State Bar Association) identified one of the most serious problems
  as the uncertainty around FBARs:
                 [T]he FBAR guidance process is very confusing and informal, with
                 often conflicting information scattered through the IRS website,
                 requiring taxpayers and practitioners to engage in a “scavenger hunt
                 to find relevant information with no guarantee that the information
                 will not be ‘reviewed or updated’ the next day on the website.”

  National Taxpayer Advocate, 2009 Annual Report to Congress, Volume 1, page 144. 7 Even IRS
  officials, including Bjork, a 30-year IRS veteran, were not immune from being uninformed about
  FBARs. In fact, Bjork first learned about FBARs in 2012 (SOF ¶ 63) over six years after the
  reporting periods for which Isac is being penalized for his failure to understand FBARs.
                                        LEGAL STANDARD
         Under Federal Rule of Civil Procedure 56, summary judgment is appropriate if the
  pleadings, the discovery and disclosure materials on file, and any affidavits show no genuine issue
  exists as to any material fact and that the movant is entitled to a judgment as a matter of law. Fed.
  R. Civ. P. 56(c); see also Eberhardt v. Waters, 901 F.2d 1578, 1580 (11th Cir. 1990). Isac is
  entitled to summary judgment because no such genuine issue exists.

                                            ARGUMENT
  I.     Isac Was Not Willful

         The Court reviews whether Isac willfully violated his FBAR requirements de novo. See
  U.S. v. Garrity, 304 F. Supp. 3d 267, 270 (D. Conn. 2018).



  7
   Available at https://www.irs.gov/pub/tas/1_09_tas_arc_vol_1_preface_toc_msp.pdf (last visited
  7/10/2019).

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          A.       Willful Standard
          Section 5321 authorizes a penalty for willful violations of the FBAR reporting
  requirements, but does not define the term “willful.” See 31 U.S.C. § 5321. Because section 5321
  involves civil penalties, the relevant definition of willfulness is the definition applied in other civil
  contexts, including tax collection and compliance with reporting requirements. Bedrosian v. U.S.,
  912 F.3d 144, 152-53 (3d Cir. 2018).
          To show willfulness based on an actual-knowledge theory, the government must prove that
  Isac knew about the FBAR requirements and that Isac knew the requirements applied to him. See
  Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 56-57 (2007); U.S. v. Wynn , 61 F.3d 921, 928 (D.C.
  Cir. 1995); U.S. v. Flume, No. 5:16-cv-73, 2018 WL 4378161, at fn 9 (S.D. Tex. Aug. 22, 2018).
          In the comparable context of the penalty under 26 U.S.C. § 6672, this Circuit also defines
  willfulness to include recklessness. Scott v. U.S., No. 17-13741, 2019 WL 2451049 (11th Cir.
  June 12, 2019); Malloy v. U.S., 17 F3d 329, 332 (11th Cir. 1994); Mazo v. U.S., 591 F.2d 1151,
  1155 (5th Cir. 1979).8 The reckless requirement is satisfied under Section 6672 if the taxpayer
  acts with a reckless disregard of a known or obvious risk that trust funds (withholding taxes) may
  not be remitted to the government, such as by failing to investigate or to correct mismanagement
  after being notified that withholding taxes have not been duly remitted. Mazo, 591 F.2d at 1155
  (emphasis added). See also, Bedrosian, in which the Third Circuit was uncertain as to whether the
  lower court considered whether the taxpayer “clearly ought to have known there was a grave risk
  that [an accurate FBAR was not being filed].” Bedrosian, 912 F.3d at 153.
          “Reasonable cause,” i.e., reliance on accountants/attorneys, can avoid a finding of
  willfulness. See Thosteson v. U.S., 331 F.3d 1294, 1301(11th Cir. 2003). The Supreme Court
  recognized that taxpayers are not tax experts and are entitled to rely on the advice of tax
  professionals. Specifically, the Court stated:
          “When an accountant or attorney advises a taxpayer on a matter of tax law, such as
          whether a liability exists, it is reasonable for the taxpayer to rely on that advice. ***
          To require the taxpayer to challenge the attorney, or seek a "second opinion," ***
          would nullify the very purpose of seeking the advice of a presumed expert in the
          first place. *** "Ordinary business care and prudence" does not demand such
          actions.” U.S. v. Boyle, 469 U.S. 241, 251 (1985).



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    In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh Circuit adopted as
  binding precedent the decisions of the former Fifth Circuit handed down prior to October 1, 1981.

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         B.      Isac Was Not Willful Under This Standard

                 1.      Isac was not willful because he did not have actual knowledge

         Isac did not have actual knowledge of the full extent of his FBAR reporting requirements.
  Isac’s conduct is not comparable to other taxpayers determined to be willful for FBAR violations.
  In every case, the willful taxpayer was not a foreigner, like Isac, but a U.S. citizen born and raised
  in the U.S., who had no pre-existing relationship to foreign banks until the decision was made by
  the U.S. citizen for tax avoidance reasons to open a foreign account. A classic example is the case
  of Edward Flume, a U.S. citizen residing in Mexico, who was found to have willfully violated his
  FBAR reporting requirement, in part, because he was a savvy businessman, disregarded his tax
  preparers’ letters reminding him of his obligation to disclose his foreign accounts, and used an
  offshore Belize company within his control to conceal monies from the IRS. See U.S. v. Flume,
  No. 5:16-cv-73, 2018 WL 4378161 (S.D. Tex. 2019).

         Isac, in contrast to Flume, is an unsophisticated taxpayer who hired only CPAs, and never
  sought to disguise funds from tax authorities in any jurisdiction. Isac’s business failures
  demonstrate that he is unsophisticated and clearly is not a savvy businessman. Moreover, Isac did
  not simply hire any U.S. tax preparer; he hired only CPAs to advise him on his U.S. tax filings.
  Unlike Flume, Isac did not establish an elaborate offshore corporate structure to funnel payments
  to himself by routing funds through intermediaries in an attempt to disguise the source of the
  payments from tax authorities. Consequently, a review of the factors found in prior FBAR cases
  used to establish “knowledge” demonstrates that Isac did not have actual knowledge of the FBAR
  reporting requirements.
                 2.      Isac’s reliance on qualified certified public accountants disproves
                         recklessness
         There are no facts to establish that Isac either avoided or purposefully avoided to learn facts
  that would confirm an FBAR obligation. To the contrary, Isac went to three different CPAs, and
  informed them of the fact that his father who lived in Switzerland was making gifts to him. (SOF
  ¶¶ 22, 27, and 33.) Isac reasonably relied on those professionals; thus, his conduct did not
  represent an unjustifiably high risk of harm that was known, or so obvious that it should have been
  known—i.e., Isac was not reckless nor willfully blind.
         U.S. v. McBride provides an example of the egregious conduct that is considered willful
  blindness. See U.S. v. McBride, 908 F. Supp. 2d 1186 (D. Utah 2012). McBride hired a firm to

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  propose tax avoidance options and upon learning of their proposal, responded, "This is tax
  evasion." Id. at 1190. McBride nevertheless requested that the firm establish the proposed
  structure. McBride received literature from the firm in which it advised McBride that he was
  required to report his financial interest in, or signature or other authority over, any foreign bank,
  securities, or other financial account, and that intentional failure to comply with this reporting
  requirement is a crime. Id. at 1191.
         The court found that McBride's failure to file FBARs to report his interest in the foreign
  accounts was willful — not difficult in light of the fact that McBride read promotional materials
  from the firm advising him of his FBAR filing obligation.
         The court based its willfulness determination on the fact that McBride recklessly ignored
  the known or obvious risk that his conduct was illegal by taking deliberate actions to avoid learning
  of that fact. Contrary to McBride, Isac did not ignore any known or obvious risk that his FBAR
  filings were not fully reporting all accounts that should have been included on the form, and he
  did not take any deliberate actions to avoid learning of that fact. His conduct was not willful or
  willfully blind. Unlike McBride, when Isac became aware of his duty to report all foreign accounts,
  regardless of a U.S. connection.
  II.    The IRS Determination Should be Set Aside Under the APA
         In addition to determining whether Isac willfully violated his FBAR duties de novo, the
  Court must also consider whether the IRS was arbitrary and capricious under the Administrative
  Procedure Act, 5 U.S.C. § 706(2)(A) (1946). Such review requires the Court to review the IRS’s
  administrative record for an abuse of discretion. Moore v. U.S., No. C13-2063RAJ, 2015 U.S. Dist.
  LEXIS 43979, at *22, *29 (W.D. Wash. Apr. 1, 2015), citing Nat’l Ass’n of Home Builder, 340
  F.3d 835, 841 (9th Cir 2003). Isac submits that both the IRS’s determination of willfulness and
  (assuming arguendo there was a willful violation) the amounts of penalties violated the APA.
         A.      The IRS violated the APA in determining Isac was willful
         To be valid under the APA, the IRS must have made a reasoned decision after considering
  the relevant factors. E.g., U.S. v. Williams, Civil Action No. 1:09-CV-00437, 2014 U.S. Dist. Lexis
  105666, *5 -*6 (E.D. Va. June 26, 2014). In Isac’s case, the IRS considered misleading,
  undeveloped, or simply untrue factors to determine Isac willfully violated his FBAR obligations.
  To add insult to injury, the IRS - through an agent who had no interactions with Isac or his
  representatives and reviewed the file only for a limited time – used those same factors to then


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  conclude Isac was willful. Per the administrative record, the IRS considered the following factors
  in making its determination:
         Misleading Claim 1: Isac was seeking some “benefit” by failing to report his foreign
  accounts. (SOF ¶ 64.) Actual Fact 1: It is clear that some perceived financial “benefit” was not
  Isac’s motivation. For example, for 2006 the total “benefit” to Isac in terms of income tax on the
  unreported accounts was only $20,475 (i.e., he saved $20,475 in tax). (SOF ¶ 66.) By contrast, the
  willful FBAR penalty asserted for 2006 is $1,173,778. Isac’s motivation was to be compliant.
  (SOF ¶ 67.)
         Misleading Claim 2: Isac undertook “affirmative acts of maintaining significant
  involvement in the management of the foreign accounts.” (SOF ¶ 64.) Actual Fact 2: Almost all
  investments in Isac’s foreign accounts were conservative fixed income investments, many of
  which were gifted directly to Isac, while others were selected by the banker advisors. (SOF ¶ 68.)
  Bjork testified that he was unaware of any such affirmative acts. (SOF ¶ 68.)
         Misleading Claim 3: Isac failed to report interest earned on the foreign accounts. (SOF ¶
  64.) Actual Fact 3: Isac’s original 2006, 2008, and 2009 tax returns reported interest income from
  certain foreign accounts. (SOF ¶ 69.)
         Misleading Claim 4: Isac failed to inform his tax return preparers about the existence of
  Swiss accounts. (SOF ¶ 64.) Actual Fact 4: Isac informed Gordon of his Swiss accounts. (SOF ¶¶
  21-25.) Shaw advised Isac that only foreign accounts with a U.S. connection need to be accounted
  for. In 2009, the only year in which any of Isac’s Swiss accounts had a U.S. connection, he reported
  the $4.4 million dollar Swiss account on his FBAR. (SOF ¶ 70.)
         Misleading Claim 5: The Schedule Bs on Isac’s income tax returns were incomplete,
  inaccurate, or both. (SOF ¶ 64.) Actual Fact 5: On Isac’s 2006 income tax return Shaw answered
  “yes” to the Schedule B foreign account question; however, because of her erroneous
  understanding she only reported one foreign jurisdiction – Costa Rica, because Isac transferred
  money from a U.S. account to that account. (SOF ¶ 71.) As discussed above, tax preparation
  software was used to prepare Isac’s tax returns for 2007-2009 and the software did not prompt an
  inquiry about foreign accounts but rather defaulted to answering the Schedule B foreign account
  question “no.” (SOF ¶ 72.)
         Misleading Claim 6: “the opening and closing of various Swiss accounts also showed
  regular and continuous involvement.” (SOF ¶ 64.) Actual Fact 6: In fact most of the “opening and


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  closing” of the foreign accounts was in 2008 and 2009, when the banks, particularly Swiss banks,
  were failing, and Isac’s father advised him to diversify his bank accounts. (SOF ¶ 73.)
         Misleading Claim 7: Isac requested that certain banks retain his mail in an attempt to
  conceal these accounts. (SOF ¶ 64.) Actual Fact 7: During the years at issue, Isac spent
  considerable time outside of Switzerland and in most years a majority of his time in Costa Rica
  (his primary residence), which had an unreliable mail delivery system and a chronic mail theft
  problem. (SOF ¶ 74.) He used his U.S. address and/or his U.S. passport when opening some of the
  foreign accounts at issue, e.g., UBS 9250 and Clariden Leu, but did not want bank statements and
  correspondence sent to the U.S. to then be forwarded to Costa Rica. (SOF ¶ 75.)
         Misleading Claim 8: “the establishment of an offshore corporate entity … further leads
  one to conclude that the taxpayer acted willfully.” (SOF ¶ 64.) Actual Fact 8: During the years at
  issue, Isac’s primary residence was Costa Rica. Isac formed a Costa Rican entity to conduct an
  active real estate investment business in Costa Rica. (SOF ¶ ¶ 76,77.) As Bjork testified, this was
  a normal and appropriate business practice. (SOF ¶ 78.)
         Above are just some of the misleading claims propounded by the IRS. Telling is Bjork’s
  testimony at his deposition. After showing him that several factors on which the IRS relied were
  not accurate he was asked: “Question: And is that kind of true of this case, if we all knew now—
  then what we know now, it would have been different…? Answer: Yes.” (SOF ¶ 65.)
         In the four months between Bjork’s non-willful Title 31 exam conclusion, and the
  overruling of his determination, there was no further investigation even though Isac was clearly
  willing to cooperate. Indeed, the original non-willful and final willful lead sheets are nearly
  identical with respect to facts relied upon, with a discernible difference being the first sentence:
  “[t]he Government concludes that non-willful FBAR penalties apply” was revised to read “[t]he
  Government concludes that willful FBAR penalties apply.” (SOF ¶ 79.)
         The IRS’s decision is therefore not adequately explained and supported by the record and
  therefore such acts fail to demonstrate that the agency engaged in reasoned decision making.
  Williams at *5-6; see also Clark County v. FAA, 522 F.3d 437, 441 (D.C. Cir. 2008).
         B.      The IRS Violated the APA in Determining the Amounts of Penalties
         Once the IRS determines a taxpayer willfully violated the FBAR reporting requirements,
  Congress gave wide discretion to the IRS, which ultimately rests on the examiner (Revenue Agent
  Bjork) on whether to assess a penalty and the amount of such penalty. 31 U.S.C. § 5321(a)(5)(A);


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  IRM 4.26.16.4.6 (07-01-2008) (The statutory penalty computation provides a ceiling on the FBAR
  penalty. The actual amount of the penalty is left to the discretion of the examiner.) Given this wide
  discretion to examiners, the IRS provided guidance to its employees to ensure that similarly
  situated taxpayers are penalized similarly.
         This guidance is not in the form of regulations promulgated and codified under the
  Administrative Procedure Act with the corresponding ability for the public notice and comment.
  Rather, this guidance can largely be found in internal memoranda which are then reflected in the
  Internal Revenue Manual. The Internal Revenue Manual does not have the force of law. E.g.,
  Fargo v. Comm'r., 447 F.3d 706, 713 (9th Cir. 2006).
         In Isac’s case, the IRS did not asses the statutory maximum for a willful FBAR penalty.
  Rather, through discovery, the IRS explained its methodology for determining the penalty, which
  is not based on law, regulation, or published guidance (including the Internal Revenue Manual)
  but rather on “informal discretionary mitigation guidelines” and some additional discretion by
  Bjork. (SOF ¶ 82.) In Moore v. U.S., the court upheld the penalty amount by ruling that the
  penalties contained in the Internal Revenue Manual are not an abuse of discretion. U.S. v. Moore,
  No. C13-2063RAJ, 2015 U.S. Dist. LEXIS 99804, at *3 (W.D. Wash. July 24, 2015). In Isac’s
  case, the IRS does not contend it relied on its own manual.
         It is hard to imagine a more arbitrary decision than when deciding how to penalize a
  taxpayer. The IRS selected a penalty amount based on a gut feeling of what was appropriate rather
  than the application of written penalty guidance (including previously promulgated regulation that
  capped the penalty at $100,000 per bank account) that existed at the time.
         C.      The FBAR Penalties Violated the APA Because They Violated FinCEN
                 Regulations

         For willful FBAR violations, the maximum statutorily authorized penalty is the greater of
  $100,000 or 50 percent of the relevant account balance. 31 U.S.C. § 5321(a)(5)(C). However, the
  implementing regulation caps the penalty at $100,000. 31 CFR § 1010.820(g). The IRS has
  consistently taken the position 31 CFR § 1010.820(g) is void ab initio since 2004, when Congress
  increased the willful penalty (American Jobs Creation Act of 2004, Pub. L. No. 108-357, 118 Stat.
  1418 (2004)) and assessed amounts greater than the $100,000.
         Six different courts have ruled on this issue, but none of these courts had the benefit of the
  Supreme Court’s decision in Kisor v. Wilkie, 139 S.Ct. 2400 (2019). In Kisor, the Supreme Court


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  tackled the central issue – how much deference should an agency’s interpretation of its own rules
  be given. In Kisor, the Supreme Court set forth a five factor test as to deference:
                 First, a court should not afford Auer9 deference unless the rule is genuinely
  ambiguous applying statutory rules of construction to the regulation.
                 Second an agency’s interpretation of its own rule must reflect “fair and considered
  judgment” to receive Auer deference. That means, that a court should decline to defer to an
  interpretation adopted that is merely a “convenient litigating position” or “post hoc
  rationalizatio[n] advanced” to “defend past agency action against attack.”
                 Third, the agency’s interpretation must be one actually made by the agency. In other
  words, it must be the agency’s “authoritative” or “official position,” rather than any more ad hoc
  statement not reflecting the agency’s views.
                 Fourth, an agency’s interpretation must reflect “fair and considered judgment” to
  receive Auer deference. A court may not defer to a new interpretation, whether or not introduced
  in litigation, that creates “unfair surprise” to regulated parties.
                 Fifth, the agency’s interpretation must in some way implicate its substantive
  expertise.
          Here, there is clearly an ambiguity — two courts10 have held for the taxpayers and four
  courts11 have held for the IRS. Much of the uncertainty is because 31 CFR § 1010.820(g) and its
  predecessor have been around since 1987. Congress amended Section 5321(a)(5)(C) in 2004, yet
  in 2010 the BSA regulations were amended and no substantive changes were made to the language
  at issue. See 75 Fed. Reg. 65086, at 65807. Moreover, 31 CFR § 1010.821 provides that the willful
  FBAR penalty imposed under Section 5321(a) shall be adjusted for inflation. In 2016, 31 CFR §
  1010.820 was amended to account for inflation and yet again did not account for the 2004 statutory
  change. 81 Fed. Reg. 42503.


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   Under that Auer deference, Court deferred to an agency’s reasonable reading of its own genuinely
  ambiguous regulations. Auer v. Robbins, 519 U.S. 452 (1997); Bowles v. Seminole Rock & Sand
  Co., 325 U.S. 410 (1945).
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     See U.S. v. Colliot, No. AU-16-CA-01281-SS, 2018 WL 2271381 (W.D. Tex. May 16, 2018);
  U.S. v. Wahdan, 325 F.Supp.3d 1136, 1139 (D. Colo. 2018).
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     See U.S. v. Schoenfeld, 344 F.Supp.3d 1354 (M.D. Fla. 2018); U.S. v. Garrity, No. 3:15-cv-243-
  MPS, 2019 WL 1004584 (D. Conn. Feb. 28, 2019); U.S. v. Horowitz, et al., No. PWG-16-1997,
  2019 WL 265107 (D. Md. Jan. 18, 2019); Kimble v. U.S., 141 Fed. Cl. 373 (2018); Norman v.
  U.S., 138 Fed. Cl. 189, 195 (2018).

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          In 2002, Treasury expressly delegated to FinCEN the authority to “implement and
  administer” the BSA, through the “promulgation and amendment of regulations and the assessment
  of penalties.” Treasury Order 180-01, (Sept. 26, 2002), 67 Fed. Reg. 64697 (Oct. 21, 2002).
  FinCEN then delegated the authority to the IRS to “assess and collect civil penalties under 31
  U.S.C. 5321 and 31 CFR 1010.820[.]” 31 CFR § 1010.810(g). Importantly, FinCEN did not
  delegate its responsibilities as to issuing regulations to the IRS.
          Because FinCEN issued the regulation at issue, and continues to hold such authority, the
  IRS interpretation of FinCEN’s regulation does not warrant deference. In fact, under the guise of
  interpreting the regulation, the IRS is creating de facto a new regulation by voiding §1010.820(g)
  and in effect rewriting §1010.821, i.e., creating a range of $124,588 to 50% of the relevant account
  balance. The position espoused by the IRS does not reflect considered judgement but rather it
  represents solely a “convenient litigating position” and an “unfair surprise.” If the regulation is to
  be struck, then the power to strike the regulation should be reserved for the authorized
  administrative agency, FinCEN, and not with the IRS. Until FinCEN undertakes that task, then
  the Colliot and Wahdan decisions should be followed as properly interpreting the statute and
  regulation at issue: Section 5321(a)(5) sets a ceiling for penalties assessable for willful FBAR
  violations, but it does not set a floor. Thus, assuming arguendo, Isac willfully violated his FBAR
  reporting requirements during the years at issue, the civil penalty is limited to the greater of the
  amount in the account at the time of the violation but capped at $100,000.
          D.      The FBAR Penalties Violated the APA because they Violated the Duty of
                  Consistency
          Following Isac’s opt-out from OVDI, the IRS conducted both Title 26 and Title 31
  examinations. (SOF ¶ 52.) These examinations were based on (i) the exact same set of facts, (ii) a
  review of willfulness based on application of substantially identical underlying law 12, and (iii) as
  a matter of law, the two Titles constituting “related statues.” See Hom v. U.S., No. C 13-02243
  WHA, 2013 WL 5442960 (N.D. Cal. Sept. 30, 2013) (holding that 31 U.S.C. 5314 is a related
  statute to Title 26).
          While IRS Supervisory Agent Erik Anderson denied that the IRS made a “determination”
  under Title 26 with respect to the closing of the Title 26 examination, the IRS Title 26 findings


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    Bedrosian v. U.S., 912 F.3d 144 (3d Cir. 2018) (stating that willfulness for Title 31 purposes is
  that which is used in other civil tax law contexts).

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  indicate that Isac was assessed only negligence-based accuracy penalties and was not assessed any
  willful-based civil fraud penalties. (SOF ¶ 60.) In addition, the underlying documents relevant to
  the closing of the Title 26 case demonstrate that the IRS documented its administrative file to
  conclude that Isac did not engage in any willful conduct, that Isac owed no additional taxes,
  penalties or interest thereon, and that a “no change” finding was merited. (SOF ¶ 84.) Furthermore,
  it is clear that the IRS Title 31 initial findings concluded that Isac was only subject to a non-willful
  FBAR penalty (and this conclusion was later reversed at the behest of Clinton West). (SOF ¶¶
  53,56, and 59.)
         The IRS acted arbitrarily and capriciously in reaching opposite conclusions of
  “willfulness” on an identical set of facts and legal precedent holding Title 31 willfulness is
  determined similarly to other civil tax law contexts, particularly in light of the judicial
  determination that Title 26 and Title 31 are “related statues.” See Hom, 2013 WL 5442960, at 2.
  As a matter of law, the IRS in reaching a non-willfulness finding under Title 26 based on the exact
  same set of facts and substantially identical underlying law, may not then in the related Title 31
  examination reach the opposite conclusion. The IRS’s Title 31 willful determination violates its
  “duty of consistency.” Specifically, the Supreme Court noted that the IRS must have a rational
  basis for differing tax treatment and that “it can be an independent ground of decision that the
  Commissioner has been inconsistent….” U.S. v. Kaiser, 363 U.S. 299, 308 (1960) (Frankfurter, J.
  concurring).
         To allow the IRS to conduct two parallel examinations for Title 26 and Title 31 purposes
  based on the same exact set of facts and substantially identical underlying law, and to reach
  opposite results after initially determining non-willfulness under Title 31, is arbitrary and
  capricious and legally inappropriate.
  III.   The FBAR Penalties Violate the Eighth Amendment
         The Eighth Amendment of the U.S. Constitution provides that the government cannot
  impose “excessive fines.” U.S. Const. amend. VIII. This Court reviews the FBAR assessments
  under the Eighth Amendment de novo. Davis v. U.S., No. 16-CR-80004, 2018 WL 1136612 (S.D.
  Fla. Mar. 1, 2018); U.S. v. Villanueva, 716 Fed. Appx. 928 (11th Cir. 2018). Assuming arguendo,
  Isac willfully violated his FBAR obligations, the amounts of the penalties should nevertheless be
  set aside to extent they are violate the Eighth Amendment.




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           Prior to 2005, the maximum penalty that could be imposed for a willful violation of FBAR
  was $100,000. 31 U.S.C. § 5321(a)(5) (amended 1986 to allow for the imposition of penalties). In
  2004, Congress increased the statutory penalty to the greater of $100,000 or 50% of the balance in
  the account. American Jobs Creation Act of 2004, Pub. L. 108-357, 31 U.S.C. § 5321(a)(5)(C)
  (2004). Congress provided no specific reason for increasing the willful penalty and there is no
  evidence that Congress considered any Constitutional constraints on the increase. S. Rep. 108-357
  at 32.
           While raised in a handful of FBAR cases, there are no cases reducing FBAR penalties
  significantly under the Eighth Amendment; however, there are likewise no cases seeking to impose
  such steep FBAR penalties under facts similar to the present case. Isac argues that not only does
  the Eighth Amendment apply, but also that the $15,599,072 penalty is excessive, a fact that Bjork
  admitted in his testimony. (SOF ¶ 83.)
           A.      The FBAR Penalties are Subject to Constraints of Eighth Amendment
           The seminal cases of Austin v. U.S. and U.S. v. Bajakajian make clear that the Eighth
  Amendment applies to actions of the government when such actions are punitive, i.e. punishment;
  the label given to the action does not control. Austin v. U.S., 509 U.S. 602 (1993); U.S. v.
  Bajakajian, 524 U.S. 321 (1998). Deterrence is punitive in nature. Bajakajian at 329; Austin at
  610-18. Of the FBAR cases in which the Eighth Amendment was raised, only one rejects its
  application.13
           B.      The FBAR Penalties are Grossly Disproportionate
           Once applicable, determining whether the Eighth Amendment has been violated rests on
  an analysis of the proportionality of the fine as compared to the conduct it seeks to punish. If
  “grossly disproportional,” then the fine cannot stand. Bajakajian at 337.
           There is no established bright line in determining whether a penalty is excessive, perhaps
  the most thorough FBAR case is Bussell. U.S. v. Bussell, 2015 U.S. Dist. Lexis 175952; U.S. v.


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      The Eighth Amendment claim was addressed in the following cases: U.S. v. Garrity, 187 F.
  Supp. 3d 350 (D. Conn. 2016); Moore v. U.S., No. C13-2063RAJ, 2015 U.S. Dist. Lexis 43979
  (W.D. Wash. Apr. 1, 2015); U.S. v. Katholos, No. 17-cv-00531, 2018 U.S. Dist. LEXIS 146743
  (W.D.N.Y. Aug. 28, 2018); U.S. v. Bussell, No. CV 15-02034 SJO (VBKx), 2015 U.S. Dist.
  LEXIS 175952 (C.D. Cal. Dec. 8, 2015). The recent case of Estate of Schoenfeld is an outlier in
  its rejection. U.S. v. Estate of Schoenfeld, 344 F. Supp 3d 1354 (M.D. Fla. 2018). In Estate of
  Schoenfeld, the court rejected the application of Bajakajian, but did not specifically appear to reject
  the applicability of the Eight Amendment. Id. at 1375.

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  Bussell, 699 Fed. App’x. 695 (9th Cir. 2017), cert. denied 138 S. Ct. 1697 (2018). The Bussell
  court considered the factors presented in Bajakajian: (1) the nature and extent of crime (2) whether
  the violation was related to other illegal activities (3) the other penalties that may be imposed, and
  (4) extent of the harm caused. Bussell at *21, citing Bajakajian at 337.
           Letania Bussell funneled money made from her Beverly Hills dermatology practice into a
  Swiss bank account. Bussell at *2-3. She was criminally convicted of several crimes including
  tax evasion. Id. at *6. The court found the first two factors neutral, in part because Bussell could
  not meet her burden that the money at issue was obtained from legal sources. Id. at *23. Unlike
  Bussell, Isac is no criminal. Moreover, the source of the foreign accounts were all lawful gifts of
  Swiss-situs funds in Switzerland made by his Swiss-based father. (SOF ¶ 15.)
           Unlike the facts of the present case, the Bussell court considered her failure to report the
  interest earned on the foreign account as a tax loss on the public and that was a significant harm to
  the government. Bussell at *24. Unlike Bussell, Isac caused no fraud on the U.S. because there is
  no payment owed the government in connection with filing an FBAR, and Isac voluntarily paid
  the tax, interest and an accuracy-related penalty and to compensate the government. Similar to
  Bajakajian, there was no “loss to the public fisc.” Bajakajian at 337-39.
           The Bussell court ultimately found that the $1.2 million FBAR penalty violated the Eighth
  Amendment and reduced the penalty to the statutory maximum. Bussell at *24-25. However
  another important distinction is present, also weighing in favor of a finding of gross disproportion
  in Isac’s case. In Bussell the undisclosed foreign account resulted in one FBAR penalty. In Isac’s
  case, the IRS has interpreted the statute to impose multiple penalties on the same foreign account.14
  Stated another away, in Isac’s case the same dollars generated multiple penalties (one for every
  year).
           When weighing the relevant factors and comparing the FBAR penalties to the additional
  tax due as a result of his failure to account for interest earned from the foreign accounts, it is clear
  that the penalties are grossly disproportional, and Bjork’s testimony that they were “excessive”
  makes sense:




  14
    Whether one foreign account can generate multiple FBAR penalties is currently an issue in
  Appeal Docket No. 19-55585, where it awaits decision by the 9th Circuit; see also U.S. v. Boyd,
  123 A.F.T.R. 2d 2019-1651 (CD CA 2019).

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                                Additional Tax Due          FBAR Penalty           Percentage
              2006                    $20,475                 $1,173,778             5732%
              2007                    $128,227                $4,185,271             3264%
              2008                    $327,020                $4,185,271             1279%
              2009                    $292,284                $4,185,271             1432%

           (SOF ¶ 80.) Similarly, in weighing the relevant factors and comparing the average account
  balances of the foreign accounts at issue and cumulative FBAR penalties associated with such
  accounts, it is clear that the penalties are grossly disproportional. Some of the more egregious
  examples are as follows:
          Account          Years          Average Maximum         FBAR Penalty        Percentage
                                           Balance Range
        UMB - 54201      2006-2008            $634,792               $541,127            85%
        UBS - 19250      2006-2008             $5,497,461           $3,775,098           69%
   AARGAUISCHE -         2006-2009              $15,979              $10,681             67%
       32002
     UBS - 66308         2006-2008             $4,112,079           $2,648,546           64%


           (SOF ¶ 81.)
           The numbers appear even more excessive when considering that Bjork and his supervisor
  Anderson initially held that Isac was non-willful, and if sustained the non-willful FBAR penalty
  would have been $221,394 for the years at issue, not the $15 million now sought. (SOF ¶¶ 56, 62.)
  For these reasons, even assuming arguendo Isac willfully violated his FBAR obligations, the
  amounts of the penalties should not stand under the Eighth Amendment of the U.S. Constitution
  because they are excessive.
  IV.      The FBAR Penalty Assessments Against Isac Are Time Barred
           The FBAR assessment period extension requests are not statutorily authorized under Title
  31 of the United States Code; thus the IRS’s assessments against Isac are time barred. FBAR civil
  penalties may be assessed at any time before the end of the six-year period beginning on the date
  of the transaction. 31 U.S.C. § 5321(b)(1) (emphasis added). Isac’s 2009 FBAR was due June 30,
  2010; consequently, any FBAR civil penalty for 2009 must have been assessed by June 30, 2016
  to be valid.15 The IRS assessed FBAR civil penalties against Isac on September 6, 2016, which is
  not within the Title 31 six-year statutory assessment period. (SOF ¶ 61.)


  15
    Pursuant to the six-year statute of limitations, the FBAR civil penalties for the 2006, 2007, and
  2008 filing years must have been assessed by June 30, 2013, June 30, 2014, and June 20, 2015,
  respectively.

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          The IRS must operate within the Title 31 statutory framework with respect to FBAR
  enforcement. Title 31 has no statutory provision for extending the assessment period, which is in
  contrast to Title 26, which grants the IRS statutory authority to extend the time period to assess
  tax imposed under Title 26. See 26 U.S.C. § 6501(c)(4) (2018) (emphasis added). The IRS
  administers and enforces FBAR under redelegation from FinCEN, and thus cannot unilaterally
  adopt rules created specifically for Title 26 and force them on taxpayers for Title 31 FBAR
  purposes.
          Neither the Treasury Department nor FinCEN were authorized to extend the FBAR penalty
  assessment period beyond six years and could not have conferred such authority on the IRS; thus,
  the IRS exceeded its delegated authority in seeking FBAR statute of limitations extensions from
  Isac. Treasury Order 180-01 delegates FBAR enforcement to FinCEN and states, in pertinent part,
  “[t]he Director [of FinCEN] is hereby delegated authority to…administer the provisions of [the
  Bank Secrecy Act], which is codified at … 31 U.S.C. 5311 et seq.” See Treasury Order 180-01,
  67 Fed. Reg. 64697 (Sept. 26, 2002). FinCEN subsequently redelegated FBAR enforcement
  authority to the IRS. See Memorandum of Agreement and Delegation of Authority for
  Enforcement of FBAR Requirements (Apr. 2, 2003).
          Specifically, FinCEN delegated to the IRS the authority to enforce the provisions of 31
  U.S.C. §§ 5314 and 5321, 31 C.F.R. §§ 103.24, 103.32, 103.57, and other related provisions. Id.
  The statutes and regulations for which the IRS was delegated FBAR enforcement authority are
  simply the BSA provisions requiring FBAR reports and the civil penalties for failure to file such
  reports, along with the implementing regulations to same. Nothing in FinCEN’s redelegation of
  FBAR enforcement to the IRS authorizes any FBAR assessment beyond the Title 31 six-year
  statute of limitations.
          The Treasury Department had no such authority to delegate to FinCEN. And therefore
  FinCEN had no such authority to redelegate to the IRS. Thus the FBAR penalties are time barred.
                                          CONCLUSION
          In many ways, this case is a matter of first impression. Unlike other FBAR cases, Isac was
  trying in good faith to comply by filing FBARs and had good reason to have foreign accounts. Isac
  submits that based on undisputed facts he is entitled to summary judgment.




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  Dated: July 10, 2019

                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 10, 2019, I electronically filed the foregoing document

  with the clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on counsel of record identified via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                              /s/ Jose A. Casal
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